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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 IMPLICIT, LLC,                                 §
                                                §
        Plaintiff,                              §
                                                §       Civil Action No. 2:18-cv-54-JRG
 v.                                             §
                                                §            JURY TRIAL DEMANDED
 SANDVINE CORPORATION,                          §
                                                §
        Defendant.                              §

                          MINUTES FOR STATUS CONFERENCE
                     BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                       December 19, 2019

OPEN: 4:45 p.m.                                                              ADJOURN: 4:50 p.m.
 ATTORNEY FOR PLAINTIFF:                        Bo Davis

ATTORNEY FOR DEFENDANT:                         Gil Gillam

LAW CLERKS:                                     Taylor Fitzner
                                                Christian Chessman

COURT REPORTER:                                 Shelly Holmes, CSR-TCRR

COURTROOM DEPUTY:                               Jan Lockhart


TIME         MINUTES
4:45 p.m.    Court opened. Messrs. Gillam and Davis presented the parties’ stipulation of noninfringement
             obviating the need for a Jury trial.
             The Court instructed the parties to file by Noon on December 17, 2019, a written stipulation
             memorializing the parties’ agreement.
4:50 p.m.    Court adjourned.




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